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 1

 2                     UNITED STATES DISTRICT COURT

 3                   NORTHERN DISTRICT OF CALIFORNIA

 4
     OSAKAN,                         )         No. C08-04722 SBA
 5                   Plaintiff,      )
                                     )         ORDER DISMISSING ACTION
 6       vs.                         )
                                     )
 7    APPLE AMERICAN GROUP ET        )
     AL,                             )
 8                                   )
                     Defendant.      )
 9                                   )

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11
                The Court having been notified of the settlement of
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     this action, and it appearing that no issue remains for the
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     Court's determination,
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                IT IS HEREBY ORDERED THAT this action and all claims
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     asserted herein are DISMISSED with prejudice.        In the event
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     that the settlement is not reached, any party may move to
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     reopen the case and the trial will be rescheduled, provided
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     that such motion is filed within 30 days of this order.            All
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     scheduled dates, including the trial and pretrial dates, are
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     VACATED.
21
                IT IS SO ORDERED.
22
     DATED: 6/2/10
23

24                                    SAUNDRA BROWN ARMSTRONG
                                    United States District Judge
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